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PROB 12A
(6/21)

                               United States District Court
                                           for
                                 District of New Jersey
                         Report on Individual Under Supervision
his
Name of Individual Under Supervision: Kiburi D. Tucker                                 Cr.: 17-00501-001
                                                                                      PACTS #: 4101793

Name of Sentencing Judicial Officer:    THE HONORABLE JOSE L. LINARES
                                        CHIEF UNITED STATES DISTRICT JUDGE

Reassigned Judicial Officer:            THE HONORABLE CLAIRE C. CECCHI
                                        CHIEF UNITED STATES DISTRICT JUDGE

Date of Original Sentence: 04/18/2018

Original Offense:   Count 1: Fraud by Wire - Radio - Or Television, 18 U.S.C. § 1343, a Class C Felony;
                    Count 2: Tax Evasion, 26 U.S.C. § 7201, a Class D Felony

Original Sentence: 38 months imprisonment, 3 years supervised release

Special Conditions: Financial Disclosure, Gambling Restriction, Cooperate with IRS, Mental Health
Treatment, New Debt Restrictions, Employment Restrictions, Self-Employment/Business Disclosure,
Restitution, Substance Abuse Testing and Treatment, Support Dependents

Type of Supervision: Supervised Release                       Date Supervision Commenced: 04/24/2020

                                NONCOMPLIANCE SUMMARY

The individual under supervision has not complied with the following condition(s) of supervision:

Violation Number     Nature of Noncompliance

  1                    The individual under supervision has violated the mandatory supervision
                       condition which states 'You must make restitution in accordance with 18
                       U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664.'
                       Kiburi Tucker has failed to pay restitution as ordered. His current restitution
                       balance is $130,481.10.

U.S. Probation Officer Action:
As part of Mr. Tucker’s sentence, restitution in the amount of $133,624 was ordered to be paid in monthly
installments of $100. Since commencing supervision on April 24, 2020, he has made a total of thirteen
payments. To date, Mr. Tucker has paid a total amount of $3,142.90.

Mr. Tucker is scheduled to terminate from supervision on April 23, 2023. At this time, we are respectfully
recommending Tucker’s term of supervision be allowed to terminate as scheduled despite having an
outstanding restitution balance as the Financial Litigation Unit of the U.S. Attorney’s Office will pursue
collection of the remaining balance. In addition, the government and defense counsel have advised
probation that Mr. Tucker is working on assembling resources to make additional restitution payments prior
to his supervised release termination date.
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                                                                                         Kiburi D. Tucker




                                                        Respectfully submitted,

                                                        SUSAN M. SMALLEY, Chief
                                                        U.S. Probation Officer

                                                                Julie Chowdhury


                                                         By:   JULIE CHOWDHURY
                                                               U.S. Probation Officer

/ jc

APPROVED:




                                March 2, 2023
CARRIE H. BORONA                     Date
Supervising U.S. Probation Officer

Please check a box below to indicate the Court’s direction regarding action to be taken in this case:

X Allow Supervision to Expire as Scheduled on April 23, 2023 (as recommended by the Probation Office)
   Submit a Request for Modifying the Conditions or Term of Supervision
   Submit a Request for Warrant or Summons
   Other



                                                                Signature of Judicial Officer


                                                                        3/3/2023
                                                                            Date
